     Case 2:11-cr-02079-WFN    ECF No. 950   filed 01/16/13   PageID.3651 Page 1 of 2




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 5                          UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                 )
                                               )     NO.      CR-11-2079-WFN-5
 8                            Plaintiff,       )
           -vs-                                )
 9                                             )     ORDER ON MOTION TO MODIFY
     JOAQUIN LARIOS-MENDOZA,                   )     CONDITIONS Of RELEASE
10                                             )
                              Defendant.       )
11                                             )
12
13        Before the Court is Defendant's Motion to Modify Conditions of Release (ECF
14 No. 944), which was expedited (ECF No. 947). Per section 6(f) of the Plea Agreement,
15 Defendant now moves for an order modifying the conditions of his release by exonerating
16 Defendant's bond property at 1914 Kemper Street, Los Angeles, California. Also per the
17 Plea Agreement, the Government does not object to the Motion. This Order does not affect
18 the bond for the property at 1910 Kemper Street, Los Angeles, California. The Court has
19 reviewed the file and Motions and is fully informed. Accordingly,
20        IT IS ORDERED that:
21        1. Defendant's Motion to Modify Conditions of Release, filed January 14, 2013, ECF
22 No. 944, is GRANTED. Defendant's bond property at 1914 Kemper Street, Los Angeles,
23 California is EXONERATED. Defense counsel is responsible for providing a copy of
24 this Order to the appropriate Court Clerk.
25        2. Defendant's Motion to Expedite, filed January 14, 2013, ECF No. 947, is
26 GRANTED. The underlying Motion was heard on an expedited basis.

     ORDER ON MOTION TO MODIFY
     CONDITIONS Of RELEASE - 1
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 1          The District Court Executive is directed to file this Order and provide copies to
 2 counsel.
 3          DATED this 16th day of January, 2013.
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 5                                                 s/ Wm. Fremming Nielsen
                                                      WM. FREMMING NIELSEN
 6   01-15-13                                  SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER ON MOTION TO MODIFY
     CONDITIONS Of RELEASE - 2
